805 F.2d 393Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Eddie Lee JOHNSON, Plaintiff-Appellant,v.George BOONE;  Ernest Smith, Jr., Defendants-Appellees.
    No. 86-7593.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 17, 1986.Decided Nov. 17, 1986.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, District Judge.  (C/A No. 86-36-CRT)
      Eddie Lee Johnson, appellant pro se.
      E.D.N.C.
      AFFIRMED.
      Before WIDENER, CHAPMAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Johnson v. Boone, C/A No. 86-36-CRT (E.D.N.C., Apr. 25, 1986).
    
    
      2
      AFFIRMED.
    
    